From:                           Dorvil, Cathy S. <CDorvil@chamblisslaw.com>
Sent:                           Friday, May 6, 2022 1:44 PM
To:                             Abelow, Mike; Arnold Stulce
Cc:                             St. Charles, Michael N.; 'Ross.Schell@adamshemingway.com'
Subject:                        RE: Patten Property Issues



Mr. Abelow,

As stated in my email below and for the reasons stated below, Cartter's representatives will not be proceeding
with the closing and are not willing to extend the deadline.


Catherine S. Dorvil

Chambliss, Bahner & Stophel, P.C.
Liberty Tower
605 Chestnut Street, Suite 1700
Chattanooga, TN 37450

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From: Abelow, Mike <MAbelow@srvhlaw.com>
Sent: Friday, May 6, 2022 11:57 AM
To: Dorvil, Cathy S. <CDorvil@chamblisslaw.com>; Arnold Stulce <astulce@mwalawfirm.com>
Cc: St. Charles, Michael N. <mstcharles@chamblisslaw.com>; 'Ross.Schell@adamshemingway.com'
<Ross.Schell@adamshemingway.com>
Subject: RE: Patten Property Issues


[EXTERNAL EMAIL]


Ms. Dorvil:

Mr. Patten’s position is without basis and subjects the Pattens to damages for breach of contract. Mr. Eggert
is ready, willing and able to close. Mr. Eggert is under contract with Consolidated Timberlands, LLC which will
be providing the funding for the purchase price to the Pattens. Consolidated is ready to close. The closing
attorney is lined up and ready to close. All the elements are in place for a closing on Monday, but for the
Pattens’ position.

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Please advise by COB today whether you are willing to proceed with a closing or, failing that, will extend the
deadline to permit a later closing.

I continue to reserve all rights on behalf on Mr. Eggert.
From: Dorvil, Cathy S. <CDorvil@chamblisslaw.com>
Sent: Friday, May 6, 2022 10:06 AM
To: 'Ross.Schell@adamshemingway.com' <Ross.Schell@adamshemingway.com>; Abelow, Mike
<MAbelow@srvhlaw.com>
Cc: St. Charles, Michael N. <mstcharles@chamblisslaw.com>
Subject: Patten Property Issues

Mr. Schell and Mr. Abelow,

After a great deal of thought and careful consideration, the authorized representatives of Cartter Patten ("Mr.
Patten") will not participate in the closing on May 9. They have repeatedly asked for concrete evidence of Mr.
Eggert's funding source in order to meet fiduciary and legal obligations, and have requested details as to the
structure of the transaction on Mr. Eggert's side (i.e., who is financing the purchase, who is the ultimate
intended recipient of the property). You have repeatedly and expressly refused to provide that
information. Without such information, Mr. Patten's representatives cannot proceed with the closing and are
disinclined to extend the deadline set forth in the Joint Venture Agreement – the validity of which Mr. Patten's
representatives dispute for reasons previously discussed.

While Mr. Patten's representatives remain open to discussing other options to resolve this matter, they are
prepared to vigorously defend Mr. Patten's interests in court beyond his legal defenses to the Joint Venture
Agreement. Among other things, Mr. Eggert's actions in this matter rise to the level of fraud and financial
exploitation of the elderly, exposing Mr. Eggert to liability for compensatory damages, punitive damages, and
statutory attorneys' fees. Should this matter proceed in court, Mr. Patten's representatives will pursue all
available legal and equitable remedies.

Please feel free to contact us if you wish to further discuss.



Catherine S. Dorvil

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